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                                                                       USDC SDNY
UNITED STATES DISTRICT COURT                                           DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                          ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                              DOC #: __________________
                                                                       DATE FILED: _4/12/2021____

               -against-
                                                                                   19 Cr. 107 (AT)
JOHN ULRICH,
                                                                                      ORDER
                                 Defendant.
ANALISA TORRES, District Judge:

       The Court is in receipt of Defendant’s pro se filings concerning an extension of Defendant’s

surrender date to the Bureau of Prisons, currently scheduled for April 15, 2021. By April 13, 2021,

defense counsel is directed to re-file this request on his client’s behalf.

       SO ORDERED.

Dated: April 12, 2021
       New York, New York
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